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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                 Plaintiff,

vs.                                                                             No. CR 19-3113 JB

ROBERT PADILLA,

                 Defendant.

                                     NOTICE AND ORDER

        Attached is the Court’s opinion in United States v. Martinez, No. CR 19-3725 JB, Unsealed

Memorandum Opinion and Order, filed July 12, 2021 (Doc. 303)(“MOO”). In its MOO, the Court

concludes that it does not have to recuse from Defendant Jody Rufino Martinez’ case under 28

U.S.C. § 455(a) and United States v. Greenspan, 26 F.3d 1001 (10th Cir. 1994), because the alleged

threat against the Court is not as serious as the threat in United States v. Greenspan, and the Court

has not, and Martinez does not allege that the Court has, taken any action against him because of

the threat.

        Here, under § 455(a), the Court has determined that it does not have to recuse in this case.

Defendant Robert Padilla’s position in this case is different than Martinez’ position; therefore, the

Court directs Padilla to look at the MOO to see if he agrees with the Court’s analysis and its

decision not to recuse in his case. The Court directs also Plaintiff United States of America to

share the MOO with its appellate lawyers and determine whether it will defend the Court’s decision

on appeal and not confess error; the United States should send a letter or file something with the

Court discussing the results of the discussion and its position on the Court’s decision. The Court

has filed similar notices in: (i) United States v. Angel Deleon, et al., No. CR 15-4268 JB; (ii)
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United States v. Tony Gauna, No. CR 20-1629 JB; and (iii) United States v. Jonathan Gomez, No.

CR 19-3726 JB.



                                                       ________________________________
                                                       UNITED STATES DISTRICT JUDGE


Counsel:

Fred J. Federici
   Acting United States Attorney
Elaine Y. Ramirez
Kristopher N. Houghton
Robert I. Goldaris
  Assistant United States Attorneys
United States Attorney’s Office
Albuquerque, New Mexico

       Attorneys for the Plaintiff

Joe M. Romero
Romero & Winder, PC
Albuquerque, New Mexico

       Attorney for the Defendant




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